






Opinion issued October 18, 2007

     












In The

Court of Appeals

For The

First District of Texas






NO. 01-07-00784-CR






BARRY GARDNER DENTON, Appellant


V.


THE STATE OF TEXAS, Appellee






On Appeal from the 177th District Court

Harris County, Texas

Trial Court Cause No. 1126717





MEMORANDUM OPINION


	Appellant, Barry Gardner Denton, pleaded guilty to the state jail felony offense
of possession of cocaine less than one gram, and, pleaded true to two enhancement
paragraphs.  In accordance with his plea bargain agreement with the State, the trial
court sentenced appellant to confinement for four years.  Appellant filed a timely pro
se notice of appeal 

	In a plea-bargained case in which the punishment assessed does not exceed the
plea agreement, a defendant may appeal only those matters that were raised by written
motion filed and ruled on before trial, or after obtaining the trial court's permission
to appeal.  Tex. R. App. P. 25.2(a)(2); Griffin v. State, 145 S.W.3d 645, 648-49 (Tex.
Crim. App. 2004); Cooper v. State, 45 S.W.3d 77, 80 (Tex. Crim. App. 2001).	The trial court's certification of appellant's right to appeal in this case states
that this is a plea-bargained case and appellant has no right to appeal.  The record
supports the correctness of the certification.  Dears v. State, 154 S.W.3d 610, 614-15
(Tex.  Crim. App. 2005).  We must dismiss an appeal if the trial court's certification
shows there is no right to appeal.  See Tex. R. App. P. 25.2(d).

	Accordingly, we dismiss the appeal for lack of jurisdiction.

PER CURIAM

Panel consists of Justices Nucia, Jennings, and Keyes.

Do not publish.   Tex. R. App. P. 47.2(b).

 


